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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                   4:10CR3092
                                             )
              v.                             )
                                             )       MEMORANDUM AND ORDER
DAVID W. SEEVERS,                            )
                                             )
                     Defendant.              )

       The defendants have moved to continue the pretrial motion deadline currently set for
October 27, 2010. Filing No. 22. Defense counsel explains the defendant needs additional
time to prepare and file a pretrial motion. Based on the showing set forth in the defendant’s
motion, the court finds the motion should be granted.


       IT IS ORDERED:
       1)     The defendant’s unopposed motion to continue, (filing no. 23), is granted and
              the defendant’s pretrial motions and briefs shall be filed on or before
              December 2, 2010.

       2)     The ends of justice will be served by granting defendant’s motions to continue
              the pretrial motion deadline, and outweigh the interests of the public and the
              defendant in a speedy trial, and the additional time arising as a result of the
              granting of the motion, the time between November 2, 2010 and December
              2, 2010, shall be deemed excludable time in any computation of time under the
              requirements of the Speedy Trial Act, for the reason that the parties require
              additional time to adequately prepare the case, taking into consideration due
              diligence of counsel, the novelty and complexity of the case, and the fact that
              the failure to grant additional time might result in a miscarriage of justice. 18
              U.S.C. § 3161(h)(7)(A) & (B).

       3)     As to all defendants, the trial of this case is continued pending resolution of
              any pretrial motions filed.

              November 2, 2010.                   s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
